     Case 4:11-cv-00257-REL-RAW Document 112 Filed 09/05/12 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA



       Jerry Mitchell



               Plaintiff                             JUDGMENT IN A CIVIL CASE
       v
                                                     CASE NUMBER: 4:11-cv-257 REL RAW
       Trail King Industries, Inc




               Defendant

        JURY VERDICT . This action came before the Court for trial by jury. The issues have been
tried and the jury has rendered its verdict.

       DECISION BY COURT. This action came before the Court. The issues have been
considered and a decision has been rendered.


IT IS ORDERED AND ADJUDGED:
Motion for summary judgment filed by Trail King Industries, Inc., on 8/2/2012 is granted.

Judgment in favor of Trail King Industries, Inc., and against plaintiff.




Date: 9/5/2012                                       CLERK, U.S. DISTRICT COURT


                                                     Fco. R. Meléndez
                                                     ______________________________
                                                     By: Deputy Clerk
